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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION
ASSUREDPARTNERS, LLC,                              )
                                                   )
         Plaintiff,                                )
v.                                                 )   Case No. 4:24-cv-01711 SEP
                                                   )
EDGEWOOD PARTNERS INSURANCE                        )
CENTER, INC., dba EPIC INSURANCE                   )
BROKERS & CONSULTANTS, et al.,                     )
                                                   )
         Defendants.                               )
                                MEMORANDUM AND ORDER
         Before the Court is Plaintiff’s Motion for Reconsideration, Doc. [53], and Plaintiff’s
Motion to Expedite Review of Plaintiff’s Motion for Reconsideration, Doc. [67]. For the reasons
set forth below, the motions are denied.
                                         LEGAL STANDARD
         “The Federal Rules of Civil Procedure do not mention motions for reconsideration.”
Derby v. Wiskus, 2023 WL 2571523, at *1 (E.D. Mo. Mar. 20, 2023). A motion to reconsider a
non-final order, as here, is generally construed as “one under Rule 60(b).” Kohlbeck v.
Wyndham Vacation Resorts, Inc., 7 F.4th 729, 734 n.2 (8th Cir. 2021) (citing Williams v. York,
891 F.3d 701, 706 (8th Cir. 2018). “Rule 60(b) provides for extraordinary relief which may be
granted only upon an adequate showing of exceptional circumstances.” U.S. Xpress Enters., Inc.
v. J.B. Hunt Transport, Inc., 320 F.3d 809, 815 (8th Cir. 2003) (internal quotation marks
omitted). Additionally, “[m]otions for reconsideration serve a limited function: to correct
manifest errors of law or fact or to present newly discovered evidence.” Derby, 2023 WL
2571523, at *1 (quoting Arnold v. ADT Sec. Servs., Inc., 627 F.3d 716, 721 (8th Cir. 2010))
(emphasis added). “A district court has broad discretion in determining whether to grant or deny
a motion to reconsider. Hagerman v. Yukon Energy Corp., 839 F. 2d 407, 413 (8th Cir.1998).
         Motions for reconsideration “are not to be used to ‘introduce new evidence that could
have been adduced during pendency’ of the motion at issue.” Id. Similarly, a “motion to alter or
amend judgment cannot be used to raise arguments which could have been raised prior to the
issuance of judgment.” Hagerman, 839 F.2d at 414 (citing FDIC v. Meyer, 781 F.2d 1260, 1268
(7th Cir. 1986)); see also Whitlock v. Midwest Acceptance Corp., 575 F.2d 652, 653 n.1 (8th Cir.
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1978) (district court properly denied plaintiffs’ motion based on newly submitted affidavits
where the information in the affidavits was available prior to entry of judgment).
                                               DISCUSSION
        Plaintiff asserts that the Court has committed a manifest error of law in denying its
motion for a TRO, because “Missouri and Florida law control this matter,” Doc. [53] at 10, and
“both states hold that violating an enforceable restrictive covenant agreement creates a
presumption of irreparable harm,” id. at 5. 1 The implication is that the Court erred by looking to
federal law regarding irreparable harm, rather than the purportedly controlling state law. See
Doc. [53] at 2. But that is not so. A federal court applies a federal standard, not a state standard,
when it decides to grant or refuse injunctive relief. See Schuler v. Adams, 27 F.4th 1203, 1209
(6th Cir. 2022) (federal courts apply a federal preliminary injunction standard and state courts
apply their own state standards); Flood v. ClearOne Commc'ns, Inc., 618 F.3d 1110, 1117 (10th
Cir. 2010) (Gorsuch, J.) (“[F]ederal law governs the procedural question [of] when a preliminary
injunction may issue . . . .”); Instant Air Freight Co. v. C.F. Air Freight, Inc., 882 F.2d 797, 799
(3d Cir. 1989) (“Rule 65(a) of the Federal Rules of Civil Procedure contemplates a federal
standard as governing requests addressed to federal courts for preliminary injunctions.”) (quoting
Sys. Operations, Inc. v. Sci. Games Dev. Corp., 555 F.2d 1131, 1141 (3d Cir. 1977)).
        The federal standard for injunctive relief often requires a federal court to examine state
substantive law in diversity cases, particularly when considering a state-law claim’s likelihood of
success on the merits, but the standard remains federal. See Winter v. Nat. Res. Def. Council,
Inc., 555 U.S. 7, 20 (2008) (listing a single set of injunctive relief factors to consider that does
not vary from state to state). Thus, federal courts “look to federal law” to determine whether a
plaintiff has shown it is likely to suffer irreparable harm in the absence of preliminary relief.
Potlongo v. Herff Jones, LLC, 749 Fed. Appx. 537, 538 (9th Cir. 2018) (unpublished); Rent-A-
Center, Inc. v. Canyon Television & Appliance Rental, Inc., 944 F.2d 597, 600–03 (9th Cir.
1991) (applying federal standards to determine whether a preliminary injunction should issue but
applying state law to the merits of the underlying contract claim). So, the existence of


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 Plaintiff also takes issue with the fact that some cases cited in the Court’s Order denying injunctive relief
arose out of the Federal District Court of Minnesota, a state that Plaintiff claims is particularly hostile to
restrictive covenants. Because the Court’s denial of the TRO was not based on Plaintiff’s likelihood to
prevail on the merits of its breach of contract claim for violation of restrictive covenants, the standard for
that question is not relevant to whether that denial should be reconsidered.


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irreparable harm is a question of federal law. See Moeschler v. Honkamp Krueger Fin. Servs.,
Inc., 2021 WL 4273481, at *10 (D. Minn. Sept. 21, 2021) (“[F]ederal law dictates not only that
the movant must show irreparable harm, but also dictates how that factor is applied—in
particular, what a litigant must show to establish ‘irreparable harm.’ And that is true whether the
underlying claim arises under federal or state law.”); Tri-State Grease & Tallow Co., Inc. v. Milk
Specialties Co., 2011 WL 1561674, at *6 (D. Minn. Apr. 22, 2011) (“[Plaintiff] points to Illinois
caselaw supposedly standing for the proposition that the risk of losing customer accounts and
sales is irreparable harm justifying an emergency injunction. But even in diversity cases such as
this, whether to grant a preliminary injunction is determined using federal rather than state
standards.”); Budget Rent A Car Corp. v. Harvey Kidd Auto., 249 F. Supp. 2d 1048, 1049–50
(N.D. Ill. 2003) (“Budget argues . . . that Illinois law presumes irreparable injury once a
protectable interest is established. While Illinois law is relevant to determining the likelihood of
Budget's success on the merits . . ., ‘[t]he propriety of [the issuance of] a preliminary injunction,
of course, is to be determined by the rules and decisions of federal courts.’”) (quoting Gen. Elec.
Co. v. Am. Wholesale Co., 235 F.2d 606, 608 (7th Cir. 1956)).
       In light of this, Plaintiff’s argument that Missouri and Florida law dictate a presumption
of irreparable harm is misplaced. In fact, one of the cases cited by Plaintiff, Doc. [53] at 15,
notes that “Florida law is only relevant to the Court’s analysis of the likelihood that Plaintiffs
will succeed on the merits. . . . Accordingly, no presumption should be applied to the irreparable
harm element and Plaintiffs must satisfy the burden of proof for this factor under the federal
standard.” Arthur J. Gallagher Serv. Co. v. Egan, 2012 WL 12839373, at *9–10 (S.D. Fla. June
29, 2012), report and recommendation adopted, 2012 WL 12838463 (S.D. Fla. Aug. 15, 2012),
aff’d, 514 Fed. Appx. 839 (11th Cir. 2013) (internal quotation marks omitted) (emphasis added).
See also Moeschler, 2021 WL 4273481, at *10 (because “federal law dictates that a
likelihood . . . of irreparable harm must be established—actually established—a state cannot
effectively eliminate [that] requirement by establishing presumptions that bind a federal court.”)
(cleaned up).
       Plaintiff also takes issue with the Court’s citation to cases that do not pertain to breaches
of restrictive covenants; but, as Plaintiff admits, “the Court relied on many of the cases cited” for
“general principles of its irreparable harm analysis,” such as which party bears the burden of
establishing a need for injunctive relief, or that irreparable harm is only established where


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monetary damages cannot provide adequate compensation. Doc. [53] at 10. That the Court cited
to cases outside the restrictive covenant context to support well-established principles concerning
the appropriateness of injunctive relief hardly constitutes manifest error.
        Finally, Plaintiff cites to another decision of this Court, Biovant LLC v. Wassenaar, 2024
WL 445571 (E.D. Mo. 2024), in which the undersigned issued a TRO restraining Defendant
from using Plaintiff’s customer information in violation of certain restrictive covenants. Plaintiff
here argues that Biovant is “controlling authority” that requires the same result in this matter.
See Docs. [53] at 1; [66] at 13. The Court disagrees. “A decision of a federal district court judge
is not binding precedent in either a different judicial district, the same judicial district, or even
upon the same judge in a different case.” Camreta v. Greene, 563 U.S. 692, 709 (2011). And
so, even if the cases were in conflict, the Court would not be bound to follow Biovant. Thus,
there is no reason to delve fully into the differences between the cases; it suffices to point out
that “cases presenting different allegations and different records may lead to different
conclusions.” Twitter, Inc. v. Taamneh, 598 U.S. 471, 507 (2023) (J. Jackson, concurring).
        Plaintiff also presents what it describes as newly discovered evidence that should
persuade the Court to reconsider its ruling. For example, Plaintiff points to some documents that
Defendant Mayfield printed “days before she departed from AP” and a PowerPoint that she
printed “months before” she left AP’s employment. Doc. [53] at 20. That information was
available to Plaintiff prior to the TRO hearing. Plaintiff also cites to information in Defendant’s
declarations, Docs. [44-1], [44-2], which were filed on the docket prior to the TRO hearing in
this case, and to an insurance policy that moved from AP to EPIC in February 2025, over a week
before the TRO hearing. “A motion for reconsideration is not a vehicle to identify facts . . . that
could have been, but were not, raised at the time the relevant motion was pending,” and a movant
may not “introduce evidence that the movant could have produced before the district court
decided the prior motion.” Perry v. City of St. Louis, 2021 WL 5881763, at *1 (E.D. Mo. Dec.
13, 2021) (cleaned up). Plaintiff also points to additional information concerning the individual
Defendants’ actions after leaving AP for EPIC, produced during discovery for the preliminary
injunction hearing set in this matter. See Doc. [66] at 8-9. But the Court has seen nothing that
would change its initial conclusion that Plaintiff has not met the standard for demonstrating
irreparable harm.




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       Because Plaintiff so vehemently disagrees with the Court’s assessment, it should take
some comfort in the fact that the Court’s denial of the TRO is not the last word. Plaintiff will
have another bite at the apple when the parties brief and argue Plaintiff’s motion for a
preliminary injunction, after which the Court will have a fuller record on which to make a
decision regarding injunctive relief.
       The Court has reviewed its March 10, 2025, Order and concludes that it contains no
manifest errors of law or fact. The Court fully considered Plaintiff’s request for a TRO and
concluded that Plaintiff had not shown that it would suffer irreparable harm absent injunctive
relief. AP’s Motion for Reconsideration reiterates the arguments it made in support of its motion
for a TRO, while expressing its strong disagreement with the Court’s rejection of the same.
Those are not “exceptional circumstances” justifying “extraordinary relief.” U.S. Xpress Enters.,
320 F.3d at 815.
       Accordingly,
       IT IS HEREBY ORDERED that Plaintiff’s Motion for Reconsideration, Doc. [53], is
DENIED.
       IT IS FURTHER ORDERED that Plaintiff’s Motion to Expedite Review of Plaintiff’s
Motion for Reconsideration, Doc. [67], is DENIED.


       Dated this 12th day of May, 2025.



                                                  SARAH E. PITLYK
                                                  UNITED STATES DISTRICT JUDGE




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